
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH





NO. 2-09-222-CV





ROY E. ADDICKS, JR.	APPELLANT



V.



MICHAEL R. LITTLE	APPELLEE



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FROM THE 89TH DISTRICT COURT OF WICHITA COUNTY



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MEMORANDUM OPINION
(footnote: 1)


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Appellant Roy E. Addicks, Jr., a pro se, indigent inmate, appeals from the trial court’s order dismissing his petition for writ of mandamus without prejudice
(footnote: 2) under sections 14.003 and 14.004 of the civil practice and remedies code. &nbsp;Tex. Civ. Prac. &amp; Rem. Code Ann. §§&nbsp;14.003–.004 (Vernon 2002). &nbsp;In his mandamus petition, he sought to have the trial court compel appellee, a small claims court judge in Wichita County, to rule on various motions filed by appellant in appellee’s court. &nbsp;Appellant does not dispute that he failed to follow the requirements of section 14.004 in filing his petition for writ of mandamus
(footnote: 3); instead, in two issues, he contends that chapter 14 does not apply to the mandamus petition he filed because an original proceeding is not a civil suit as contemplated by that chapter. &nbsp;However, this court has held that “an original proceeding is a suit for purposes of chapter 14” and, thus, that a pro se, indigent inmate filing an original proceeding must abide by the requirements of that chapter. &nbsp;
See Garrett v. Williams
, 250 S.W.3d 154, 158 (Tex. App.—Fort Worth 2008, no pet.). &nbsp;Accordingly, we overrule appellant’s two issues and affirm the trial court’s order.



PER CURIAM



PANEL: &nbsp;LIVINGSTON, MCCOY, and MEIER, JJ.



DELIVERED: &nbsp;April 1, 2010

FOOTNOTES
1:See
 Tex. R. App. P. 47.4.


2:See Greenwood v. Tillamook Country Smoker, Inc
., 857 S.W.2d 654, 656 (Tex. App.—Houston [1st Dist.] 1993, no writ).


3:Although appellant never expressly argues that his mandamus petition is not frivolous, a fair reading of his brief and reply brief shows that he believes the claims in his petition are meritorious. &nbsp;
See
 Tex. R. App. P. 38.1(i), 38.9. Nevertheless, if the trial court’s dismissal is proper under section 14.004, we need not address whether it is proper under rule 14.003. &nbsp;
See Bell v. Tex. Dep’t of Criminal Justice-Inst. Div
., 962 S.W.2d 156, 158 (Tex. App.—Houston [14th Dist.] 1998, pet. denied).




